     Case: 1:21-cv-04047 Document #: 18 Filed: 09/13/21 Page 1 of 2 PageID #:179




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

LALBHAI PATEL, BEENA HAIR SALON,)
INC., MICHAEL SCOTT DAVIS,      )
ALEXION CORP.,                  )
           Plaintiffs,          )
                                )
v.                              )                   CASE NO. 21-CV-04047
                                )
STAC BIZNESS SOLUTIONS, LLC and )
SHAWNA AHO,                     )
                                )
           Defendants.          )
                                )

                  ORDER TO DISMISS PURSUANT TO STIPULATION

        This matter having come before the Court upon the Parties’ Stipulation to Dismiss without
prejudice and without costs pursuant to settlement and the Parties’ stipulation that the instant
Stipulation to Dismiss be converted to a Stipulation to Dismiss with prejudice and without costs
on October 31, 2021; the Court having reviewed the Stipulation to Dismiss and being otherwise
fully advised in the premises does hereby

ORDER that this matter is hereby dismissed without prejudice and shall automatically convert to
a dismissal with prejudice on October 31, 2021. Outstanding motions are terminated. Status date
is stricken. Civil case terminated.

IT IS SO ORDERED

DATED: September 13, 2021

                                                          _______________________________

                                                           Marvin E. Aspen, U.S. District Judge




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     Case: 1:21-cv-04047 Document #: 18 Filed: 09/13/21 Page 2 of 2 PageID #:180




            CERTIFICATE OF SERVICE AND NOTICE OF ELECTRONIC FILING

        I hereby certify that on September 10, 2021, a copy of the foregoing Proposed Order was

filed and served on parties electronically by using ECF filing system.



                                             /s/ Mary Puhr




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